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      (Rev.0 1rc9)Orderto D€tain. DefendantTemporarilyUnderl 8 U.S.C-$ 3142(d)


                                  UNrrBoSraresDrsrRrcrCounrz$lsDrc
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                                             for the
                                                    SouthemDistrict of Georgia
                                                                                                             iLg,,1K
               United Statesof America

                                                                                 C a s eN o . C R 3 1 5 - 1 3
                   TracyWaldo Scott
                         Defendant                                   )


               ORDER TO DETAIN A DEX'E}{DANT TEMPORARILY I]NDER 18 U'S.C. $ 3142(d)

        At the time ofthe alleged offense, the defendantwas not a United Statescitizen or a person lawfully admitied for
permanentresidence,or, altematively,the defendantwas on releasependingtrial for a stateor federalfelony; on release
after conviction for any type ofoffense, stateor federal; or on probation or parole. This court finds that the defendant,if
released,may flee or posea dangerto anotherpersonor the community.

       IT IS ORDERED: The defendantmustbe detainedtemporarilyunder l8 U.S.C. $ 3142(d)until (date1
       12t29t2015

        The attorney for the government is directed to nodry the appropdatecourt, probation or paxoleofficet, stateor
local law enforcementofficer, or the United StatesCitizenshipand ImmigrationServicesso that a detainermay be placed
on the defendantor custody may be transferred. lf no action is taken by the above date,the defendantmust be brought
before this court on that date for further proceedings.                     ,1
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Dare: 124g20t5                                                                       M
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                                                                                                   JudSes srgTture

                                                                         Hon.BrianK.Epps,UnitesStatesl\,4agistrate
                                                                                                               Judge
                                                                                                 Pinted name qnd title
